             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
             CIVIL CASE NO. 1:18-cv-00096-MR-WCM


BRIAN HOGAN, both on his own         )
behalf and as representative of all  )
unnamed class members who are        )
similarly situated; BRIAN HOGAN,     )
as parent and next friend of H.H.,   )
both on her own behalf and as        )
representative of all unnamed class  )
members who are similarly situated,  )
                                     )
                        Plaintiffs,  )
                                     )
      vs.                            )      JUDGMENT
                                     )
CHEROKEE COUNTY; CHEROKEE            )
COUNTY DEPARTMENT OF SOCIAL )
SERVICES; SCOTT LINDSAY, both        )
in his individual capacity and       )
official capacity as attorney for    )
Cherokee County Department of        )
Social Services; CINDY PALMER,       )
in both her individual capacity and  )
her official capacity as Director of )
Cherokee County Department of        )
Social Services; DSS SUPERVISOR )
DOE #1; and DSS SOCIAL WORKER )
DOE #1,                              )
                        Defendants.  )
________________________________ )


     THIS MATTER came for trial and was heard by the undersigned judge,

and a jury was empaneled and answered the issues presented as follows:



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1.    Did the Defendant Scott Lindsay violate the Plaintiff Brian Hogan’s

      procedural due process rights?

                  Answer: YES

2.    Did the Defendant Scott Lindsay violate the Plaintiff H.H.’s procedural

      due process rights?

                  Answer: YES

3.    Did the Defendant Cindy Palmer violate the Plaintiff Brian Hogan’s

      procedural due process rights?

                  Answer: YES

4.    Did the Defendant Cindy Palmer violate the Plaintiff H.H.’s procedural

      due process rights?

                  Answer: YES

5.    Did the Defendant Scott Lindsay violate the Plaintiff Brian Hogan’s

      substantive due process rights?

                  Answer: YES

6.    Did the Defendant Scott Lindsay violate the Plaintiff H.H.’s substantive

      due process rights?

                  Answer: YES




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7.     Did the Defendant Cindy Palmer violate the Plaintiff Brian Hogan’s

       substantive due process rights?

                   Answer: YES

8.     Did the Defendant Cindy Palmer violate the Plaintiff H.H.’s substantive

       due process rights?

                   Answer: YES

9.     Did the Defendant Cherokee County have an official policy, practice or

       custom that caused a violation of the Plaintiff Brian Hogan’s procedural

       due process rights?

                   Answer: YES

10.    Did the Defendant Cherokee County have an official policy, practice or

       custom that caused a violation of the Plaintiff H.H.’s procedural due

       process rights?

                   Answer: YES

11.    Did the Defendant Cherokee County have an official policy, practice or

       custom that caused a violation of the Plaintiff Brian Hogan’s

       substantive due process rights?

                   Answer: YES




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12.    Did the Defendant Cherokee County have an official policy, practice or

       custom that caused a violation of the Plaintiff H.H.’s substantive due

       process rights?

                   Answer: YES

13.    Did the Defendant Cherokee County fail to adequately train its

       employees resulting in a violation of the Plaintiff Brian Hogan’s

       constitutional rights?

                   Answer: YES

14.    Did the Defendant Scott Lindsay act in a grossly negligent manner

       causing the Plaintiff Brian Hogan injury?

                   Answer: YES

15.    Did the Defendant Scott Lindsay act in a grossly negligent manner

       causing the Plaintiff H.H. injury?

                   Answer: YES

16.    Did the Defendant Cindy Palmer act in a grossly negligent manner

       causing the Plaintiff Brian Hogan injury?

                   Answer: YES

17.    Did the Defendant Cindy Palmer act in a grossly negligent manner

       causing the Plaintiff H.H. injury?

                   Answer: YES
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18.    Did the Defendant Scott Lindsay obstruct justice with respect to

       Plaintiff Brian Hogan?

                   Answer: YES

19.    Did the Defendant Cindy Palmer obstruct justice with respect to

       Plaintiff Brian Hogan?

                   Answer: NO

20.    We the jury award compensatory damages to the Plaintiff Brian Hogan

       in the amount of ________________.

                   Answer: $1,500,000

21.    We the jury award compensatory damages to the Plaintiff H.H. in the

       amount of ________________.

                   Answer: $3,100,000

       Based on the foregoing facts as found by the jury, the Court concludes

as a matter of law that Defendants Scott Lindsay, Cindy Palmer, and

Cherokee County are liable to the Plaintiffs Brian Hogan and H.H. under

Chapter 42 United States Code Section 1983 (“Section 1983”) for violating

their procedural and substantive due process rights under the Fourteenth

Amendment to the United States Constitution; that Defendants Scott Lindsay

and Cindy Palmer are liable to the Plaintiffs Brian Hogan and H.H. for gross

negligence under North Carolina law; and that Defendant Scott Lindsay is
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liable for civil obstruction of justice to Plaintiff Brian Hogan under North

Carolina law. The Court further concludes that Defendant Cindy Palmer is

not liable to Plaintiff Brian Hogan for civil obstruction of justice under North

Carolina law.

      Upon the close of the Plaintiffs Brian Hogan and H.H.’s evidence at

trial, Defendant Cindy Palmer made an oral motion for judgment as a matter

of law pursuant to Rule 50(a) of the Federal Rules of Civil Procedure with

respect to the negligence claims against Defendant Cindy Palmer. The

Court concluded that the doctrine of public official immunity barred the

Plaintiffs’ claims of negligence against Defendant Cindy Palmer, and the

Court, therefore, granted Defendant Cindy Palmer’s Rule 50(a) motion.

      Prior to trial the parties stipulated to dismissal with prejudice of certain

remaining claims pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil

Procedure. The parties dismissed the claim against Defendant Cindy Palmer

in her individual capacity under Section 1983 for violation of the equal

protection clause; the claims against Defendant Cindy Palmer in her

individual capacity for actual fraud; the claims against Defendant Cindy

Palmer in her individual capacity for constructive fraud; and the claims

against Defendants Cindy Palmer and Scott Lindsay in their individual

capacities for punitive damages.
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      The Court previously entered an Order granting in part the Defendants’

Motion for Summary Judgment and dismissing the claims under Section

1983 as to Defendants Scott Lindsay and Cindy Palmer in their official

capacities; the claims of negligence, gross negligence, negligent

misrepresentation, fraud, and civil obstruction of justice as to Defendants

Scott Lindsay and Cindy Palmer in their official capacities; the claims of

negligent and grossly negligent supervision against Defendant Cindy Palmer

in her official capacity; and the claims of negligent and grossly negligent

hiring and retention, respondeat superior, and civil obstruction of justice

against Defendant Cherokee County.

      The Court also granted in part the Motion for Summary Judgment by

Defendant Scott Lindsay in his individual capacity with respect to the claims

under Section 1983 for violations of equal protection; negligence; negligent

misrepresentation; actual fraud; constructive fraud; and for violations of the

North Carolina Constitution.

      The Court further dismissed the Plaintiffs’ claims against DSS

Supervisor Doe #1 and DSS Social Worker Doe #1 without prejudice.

      The Court previously entered an Order granting dismissal of all claims

pursuant to Federal Rule of Civil Procedure Rule 12(b)(6) against Cherokee

County Department of Social Services; claims of constructive fraud against
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Defendants Cindy Palmer and Scott Lindsay in their official capacities;

claims for equal protection violations under Section 1983 against Defendants

Cherokee County, and Cindy Palmer and Scott Lindsay in their official

capacities; claims for violations of the North Carolina Constitution against

Defendants Cherokee County, and Cindy Palmer and Scott Lindsay in their

official capacities; and claims for punitive damages against Defendants

Cherokee County, and Cindy Palmer and Scott Lindsay in their official

capacities.

      The parties previously entered a stipulation of withdrawal of the

Plaintiffs’ request to be designated as class representatives pursuant to Rule

41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure.

      IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that

Defendants Scott Lindsay and Cindy Palmer are liable to Plaintiff Brian

Hogan under Section 1983 for violating his procedural and substantive due

process rights under the Fourteenth Amendment to the United States

Constitution, as is Defendant Cherokee County through maintaining an

official policy, practice or custom that caused the violations and by failing to

adequately train its employees.

      IT IS FURTHER ORDERED, ADJUDGED AND DECREED that

Defendants Scott Lindsay and Cindy Palmer are liable to Plaintiff H.H. under
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Section 1983 for violating her procedural and substantive due process rights

under the Fourteenth Amendment to the United States Constitution as is

Defendant Cherokee County through maintaining an official policy, practice

or custom that caused the violations.

      IT IS FURTHER ORDERED, ADJUDGED AND DECREED that

Defendants Scott Lindsay and Cindy Palmer are liable to Plaintiff Brian

Hogan for gross negligence under North Carolina law.

      IT IS FURTHER ORDERED, ADJUDGED AND DECREED that

Defendants Scott Lindsay and Cindy Palmer are liable to Plaintiff H.H. for

gross negligence under North Carolina law.

      IT IS FURTHER ORDERED, ADJUDGED AND DECREED that

Defendant Scott Lindsay is liable for civil obstruction of justice under North

Carolina law to Plaintiff Brian Hogan.

      IT IS FURTHER ORDERED, ADJUDGED AND DECREED Defendant

Cindy Palmer is not liable to Plaintiff Brian Hogan for civil obstruction of

justice under North Carolina law and that claim is hereby DISMISSED WITH

PREJUDICE.

      IT IS FURTHER ORDERED, ADJUDGED AND DECREED that

Plaintiff Brian Hogan shall have and recover of Defendants Cherokee


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County, Scott Lindsay, and Cindy Palmer jointly and severally the sum of

$1,500,000.00.

      IT IS FURTHER ORDERED, ADJUDGED AND DECREED that

Plaintiff H.H. shall have and recover of Defendants Cherokee County, Scott

Lindsay, and Cindy Palmer jointly and severally the sum of $3,100,000.00,

for specific injuries incurred by her. Accordingly, the Court reserves for later

review and determination the issue of the manner of payment of damages

for the exclusive benefit of the minor child and retains jurisdiction of this

matter for that purpose and as otherwise may be necessary in the best

interest of the minor child. The minor child’s guardian ad litem shall remain

and continue in that capacity until such time as the monetary award is fully

satisfied, or the case is otherwise resolved.

      IT IS FURTHER ORDERED, ADJUDGED AND DECREED that

Defendant Cindy Palmer’s oral motion for judgment as a matter of law

pursuant to Rule 50(a) of the Federal Rules of Civil Procedure is GRANTED

IN PART as to the Plaintiffs’ claims of ordinary negligence. The claims for

negligence against Defendant Cindy Palmer are hereby DISMISSED WITH

PREJUDICE.

      IT IS FURTHER ORDERED, ADJUDGED AND DECREED that the

Defendants’ Motion for Summary Judgment [Doc. 56] is GRANTED IN PART
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as to the Plaintiffs’ claims under Section 1983 and of negligence, gross

negligence, negligent misrepresentation, fraud, and civil obstruction of

justice as to Defendants Scott Lindsay and Cindy Palmer in their official

capacities; the claims of negligent and grossly negligent supervision against

Defendant Cindy Palmer in her official capacity; and the claims of negligent

and grossly negligent hiring and retention, respondeat superior, and civil

obstruction of justice against Defendant Cherokee County. Those claims are

hereby DISMISSED WITH PREJUDICE.

      IT IS FURTHER ORDERED, ADJUDGED AND DECREED that the

Motion for Summary Judgment by Defendant Scott Lindsay in his individual

capacity [Doc. 62] is GRANTED IN PART as to the Section 1983 claims for

violations   of   equal   protection;   the   claims   negligence,   negligent

misrepresentation, actual fraud, constructive fraud; and the claims for

violations of the North Carolina Constitution. Those claims are hereby

DISMISSED WITH PREJUDICE.

      IT IS FURTHER ORDERED, ADJUDGED AND DECREED that the

Plaintiffs’ claims against DSS Supervisor Doe #1 and DSS Social Worker

Doe #1 are DISMISSED WITHOUT PREJUDICE.

      IT IS FURTHER ORDERED, ADJUDGED AND DECREED that the

Defendants’ Partial Motion to Dismiss [Doc. 9] is GRANTED IN PART as to
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all claims against Cherokee County Department of Social Services; claims

of constructive fraud against Defendants Cindy Palmer and Scott Lindsay in

their official capacities; claims for equal protection violations under Section

1983 against Defendant Cherokee County, and Defendants Cindy Palmer

and Scott Lindsay in their official capacities; claims for violations of the North

Carolina Constitution against Defendant Cherokee County, and Defendants

Cindy Palmer and Scott Lindsay in their official capacities; and claims for

punitive damages against Defendant Cherokee County, and Defendants

Cindy Palmer and Scott Lindsay in their official capacities. Those claims are

hereby DISMISSED WITH PREJUDICE.

      IT IS FURTHER ORDERED, ADJUDGED AND DECREED that based

on the parties’ stipulation pursuant to Rule 41(a)(1)(A)(ii) of the Federal

Rules of Civil Procedure [Doc. 103] the claim against Defendant Cindy

Palmer in her individual capacity for violation of the equal protection clause

under Section 1983; the claims against Defendant Cindy Palmer in her

individual capacity for actual fraud; the claims against Defendant Cindy

Palmer in her individual capacity for constructive fraud; and the claims

against Defendants Cindy Palmer and Scott Lindsay in their individual

capacities for punitive damages are DISMISSED WITH PREJUDICE.


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      IT IS FURTHER ORDERED, ADJUDGED AND DECREED that based

on the Parties’ stipulation pursuant to Rule 41(a) the Federal Rules of Civil

Procedure [Doc. 58] the Plaintiffs’ request to be designated as class

representatives is withdrawn.

      The Court retains jurisdiction of this matter for the purpose of

addressing any motion for attorney’s fees that may be filed by Plaintiffs Brian

Hogan or H.H.

      IT IS SO ORDERED.



                    Signed: June 21, 2021




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